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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  NORTHPOINT COMMERCIAL
  FINANCE LLC,
        Plaintiff,
           v.                                  CIVIL ACTION FILE
                                               NO. 1:23-CV-4147-TWT
  TIME OUT COMMUNITIES, LLC, et
  al.,

        Defendants.


                             OPINION AND ORDER

         This is an action to recover on a note. It is before the Court on the

Plaintiff Northpoint Commercial Finance LLC’s Motion for Partial Summary

Judgment [Doc. 69]. For the reasons set forth below, the Plaintiff’s Motion for

Partial Summary Judgment [Doc. 69] is GRANTED in part and DENIED in

part.

                                I.   Background 1

         This action arises from a finance deal between the Plaintiff Northpoint

Commercial Finance LLC and Defendants Time Out Communities, LLC

(“Time Out”) and Toppos LLC. (Pl.’s Statement of Material Facts ¶¶ 3-4). The

Defendants are in the manufactured home business, and between May 2020



         1 The operative facts on the Motion for Summary Judgment are taken

from the parties’ Statements of Undisputed Material Facts and the responses
thereto. The Court will deem the parties’ factual assertions, where supported
by evidentiary citations, admitted unless the respondent makes a proper
objection under Local Rule 56.1(B).
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and June 2023, the Plaintiff financed Time Out’s purchase of hundreds of

manufactured homes. (Id. ¶¶ 2-3). The Plaintiff also financed Toppos’s

purchase of manufactured homes for the purpose of renting them, often from

Time Out. (Id. ¶ 4). Toppos then leased the homes to the Remaining

Defendants that own and operate manufactured home communities. 2 (Id.).

Defendant Neil Carmichael Bender, II is the common owner of all of the

Defendant entities. (Id. ¶ 6). Bender and the Remaining Defendants

guaranteed Time Out and Toppos’s financing obligations to the Plaintiff. (Id.

¶ 7).

        Specifically, the Plaintiff and Time Out entered into a “Loan and

Security Agreement” on May 18, 2020, under which the Plaintiff advanced

funds to Time Out for it to acquire and finance manufactured homes, known

as the “Floor Plan Line.” (Id. ¶¶ 10-11). On January 4, 2022, the Plaintiff, Time

Out, and Toppos executed an addendum to the Loan and Security Agreement

(“Joinder Addendum”) that joined Toppos as a borrower to the original

agreement, along with an addendum (“Rental Line Addendum”) outlining

financing for Toppos to purchase manufactured homes that would then be




        2 The Court’s use of “Remaining Defendants” refers to all of the
Defendants other than Time Out Communities, LLC, Toppos LLC, Neil
Carmichael Bender, II, and, for the purposes of the ruling on the Motion for
Partial Summary Judgment, the five LLC Defendants identified in the
Plaintiff’s Notice of Bankruptcy [Doc. 79] as currently undergoing bankruptcy
proceedings.
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rented to third parties, including the Remaining Defendants. (Id. ¶¶ 12-15).

This addendum created the “Rental Line.” 3 (Id. ¶ 15). Under the Amended

Loan and Security Agreement, Time Out and Toppos are jointly and severally

liable for all obligations owed to the Plaintiff under the terms of that

agreement. (Id. ¶ 17). The specific terms for financing each line were set forth

in statements of financial transaction (“SOFTs”). (Id. ¶ 20).

      The Floor Plan Line was financed on the following terms:

      (a) Northpoint would finance 100% of the invoice cost of the
          homes, including freight;

      (b) Financed units would be repaid as sold or at maturity,
          whichever came first, with maturity occurring 720 days after
          financing;

      (c) Interest and principal curtailment payments were due on the
          15th of each month, with interest accruing at variable rates
          set forth in the SOFT; and

      (d) No curtailment payments would be owed until the twelfth
          month, at which time they would begin at 3% of the principal
          balance.

(Floor Plan Line Financing Letter, [Doc. 72-4], at 1; Def.’s Resp. to Pl.’s

Statement of Material Facts ¶ 22). The Plaintiff also financed Time Out’s

purchase of used manufactured homes on the Floor Plan Line on the same

terms. (See Used Floor Plan Line Financing Letter, [Doc. 72-5], at 1; Def.’s

Resp. to Pl.’s Statement of Material Facts ¶¶ 23-25). The Rental Line homes



      3 Together, these three agreements will be referred to as the “Amended

Loan and Security Agreement.”
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were financed to Toppos and Time Out on the following terms:

      (a) Northpoint would finance homes purchased directly from the
          manufacturer at 100% of the invoice cost, and would refinance
          homes financed by other lenders at the greater of (1) the
          payment amount owed or (2) 90% of the wholesale value of the
          home as determined by Northpoint;

      (b) Financing matures and became due in full 10 years after
          funding;

      (e) Interest and principal curtailment payments were due each
          month, with interest accruing at variable rates set forth in the
          SOFT and the curtailment percentage ranging from .35% to
          .61%.

(Rental Line Financing Letter, [Doc. 72-11], at 1; Def.’s Resp. to Pl.’s Statement

of Material Facts ¶¶ 33-35).

      Additionally, Bender “unconditionally, absolutely, and irrevocably

guarantee[d] to Northpoint, without off-set or deduction, the prompt payment

and performance of all indebtedness, obligations and liabilities” of Time Out

and Toppos under the Amended Loan and Security Agreement. (May 18, 2020

Guaranty Agreement, [Doc. 72-16], ¶ 1; Jan. 4, 2022 Guaranty Agreement,

[Doc. 72-17], ¶ 1; Def.’s Resp. to Pl.’s Statement of Material Facts ¶¶ 42-44).

The Remaining Defendants likewise guaranteed Time Out and Toppos’s

obligations under the Amended Loan and Security Agreement in separate

guaranty agreements dated May 12, 2020, January 1 and 4, 2022, March 8,

2022, and October 17, 2022. (Remaining Defendants Guaranty Agreements,

[Docs. 72-18-22]; Def.’s Resp. to Pl.’s Statement of Material Facts ¶¶ 46-48).


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      The Plaintiff alleges that the Defendants have defaulted on their

payment obligations under the Amended Loan and Security Agreement and

associated Guaranty Agreements, and the Defendants admit that they are

delinquent in payment but dispute the causes and amounts of the delinquency.

(Pl.’s Statement of Material Facts ¶ 51; Def.’s Resp. to Pl.’s Statement of

Material Facts ¶ 51). The Plaintiff provided notice to the Defendants of the

default in November 2022 and February, May, June, and July 2023. (Default

Letters, [Docs. 72-23-27]; Def.’s Resp. to Pl.’s Statement of Material Facts

¶¶ 52-57). In October 2023, Toppos filed a voluntary bankruptcy petition. (Pl.’s

Statement of Material Facts ¶ 60); Bankruptcy Petition, [Doc. 72-29]). On

December 10, 2024, the Plaintiff filed a notice indicating that five of the

Remaining Defendants had also filed for bankruptcy: Top Park Services, LLC,

Prairie Knolls MHP, LLC, Time Out Properties, LLC, Grand Valley MHP,

LLC, and Rolling Acres MHC, LLC. [Doc. 12 ¶ 3].

      The Plaintiff filed this action in September 2024 raising six counts:

breach of contract (against Time Out and Toppos) (Count One); unjust

enrichment (Count Two); money had and received (Count Three); breach of

contract (against Bender) (Count Four); breach of contract (against the

Remaining Defendants (Count Five); writ of possession (Count Six); injunctive

relief and temporary restraining order (Count Seven); and appointment of a


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receiver (Count Eight). (Compl. ¶¶ 118-181). The Plaintiff also seeks attorney’s

fees and expenses. (See id. at 39-42). The Plaintiff moved for partial summary

judgment as to Counts One, Four, and Five, and that Motion is presently before

the Court. [Doc. 69].

      As a preliminary matter, because of the automatic stay provision of the

bankruptcy code, the present litigation is stayed against Defendants Toppos,

LLC, Top Park Services, LLC, Prairie Knolls MHP, LLC, Time Out Properties,

LLC, Grand Valley MHP, LLC, and Rolling Acres MHC, LLC. 11 U.S.C.

§ 362(a). The Court will thus construe the Plaintiff’s notice of bankruptcy as a

withdrawal of its Motion for Partial Summary Judgment as to these

Defendants.

                              II. Legal Standards

      Summary      judgment    is   appropriate    only   when     the   pleadings,

depositions, and affidavits submitted by the parties show that no genuine issue

of material fact exists, and that the movant is entitled to judgment as a matter

of law. Fed. R. Civ. P. 56(a), (c). The court should view the evidence and draw

any inferences in the light most favorable to the nonmovant. Adickes v. S.H.

Kress & Co., 398 U.S. 144, 158-59 (1970). The party seeking summary

judgment must first identify grounds that show the absence of a genuine issue

of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323–24 (1986). The

burden then shifts to the nonmovant, who must go beyond the pleadings and


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present affirmative evidence to show that a genuine issue of material fact

exists. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 257 (1986).

                                III. Discussion

      In its Motion for Partial Summary Judgment, the Plaintiff moves for

summary judgment only as to Count One (against Time Out), Count Four

(against Bender), and Count Five (against the Remaining Defendants). (Pl.’s

Mot. for Partial Summ. J., at 1-2). As to Count One, the Plaintiff argues that

the Loan and Security Agreement is a valid and binding contract that Time

Out has not raised a true defense to and that Time Out admitted to a default

under the Agreement by acknowledging Toppos’s pending bankruptcy. (Id. at

15-17). Similarly, as to Counts Four and Five, the Plaintiff asserts that the

Guaranty Agreements were valid and binding, that the guarantees made were

unconditional, and that Bender and the Remaining Defendants expressly

waived any defenses to performance of their obligations under the Guaranty

Agreements. (Id. at 17-18). Additionally, the Plaintiff requests an immediate

final judgment as to these Counts under Fed. R. Civ. P. 54(b). (Id. at 19-24).

      In response, Time Out, Bender, and the Remaining Defendants do not

dispute the validity of the Loan and Security Agreement or the Guaranty

Agreements. (See Defs.’ Resp. in Opp. to Mot. for Partial Summ. J., at 8-10).

Instead, they argue that the Plaintiff’s damages are not capable of exact

computation because it failed to convert some of the homes from the Floor Plan


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Line to the Rental line, failed to apply curtailment payments to the principal

balance and fund transfer costs, and failed to account for payments it has

received as a result of Toppo’s bankruptcy proceedings. (Id. at 9). The

Defendants also assert that the Plaintiff is estopped from pursuing its claims

because it committed the first breach of the Loan and Security Agreement and

the Guaranty Agreements by failing to convert floorplan homes to rental homes

after “represent[ing]” that it would do so. (Id. at 10-11). 4

       The Plaintiff replies that all of the agreements at issue contain merger

clauses that prevent the Defendants’ reliance on oral representations to alter

the terms of the Loan and Security Agreement and the Guaranty Agreements.

(Pl.’s Reply in Supp. of Mot. for Partial Summ. J., at 6-10). It further asserts

that the Defendants’ attempts to rely on the Bender declaration to support the

existence of a side agreement is barred by the parol evidence rule. (Id. at

10-11). The Plaintiff also contends that the Defendants have not properly

rebutted its damages calculations because they have submitted no evidence

supporting a contrary calculation. (Id. at 11-13).



       4 The Defendants did not submit a statement of additional undisputed

material facts with their response as required by Local Rule 56.1(B)(2)(b) and
instead submitted only a declaration given by Defendant Bender. (See Defs.’
Resp. in Opp. to Mot. for Partial Summ. J., Ex. 1). The Court will not consider
any facts the Defendants rely on in their brief that cite to the Bender
Declaration. See LR, N.D. Ga. 56.1(B)(1) (“The Court will not consider any fact
. . . set out only in the brief and not in the [respondent’s] statement of
undisputed facts.”); LR, N.D. Ga 56.1(B)(2)(b) (noting that the respondent’s
statement of additional facts must meet the requirements in 56.1(B)(1)).
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      The Court will address the breach of contract claim against Time Out

before turning to the claims against Bender and the Remaining Defendants.

   A. Count One – Breach of Contract Against Time Out

      In Georgia, the elements of breach of contract are “the (1) breach and

the (2) resultant damages (3) to the party who has the right to complain about

the contract being broken.” McAlister v. Clifton, 313 Ga. 737, 742 (2002)

(citation omitted). “A breach occurs if a contracting party repudiates or

renounces liability under the contract; fails to perform the engagement as

specified in the contract; or does some act that renders performance

impossible.” Moore v. Lovein Funeral Home, Inc., 358 Ga. App. 10, 12 (2020)

(quotation marks and citation omitted).

      Georgia law favors enforcement of merger clauses. “The rational basis

for merger clauses is that where parties enter into a final contract all prior

negotiations, understandings, and agreements on the same subject are merged

into the final contract, and are accordingly extinguished.” First Data POS, Inc.

v. Willis, 273 Ga. 792, 795 (2001) (quotation marks, citation, and brackets

omitted). Moreover, “merger clauses exist in written contracts specifically to

preclude any claim of deceit by prior representations.” Id. (quotation marks

and citation omitted).




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      Here, there is no genuine issue as to Time Out’s breach of the Loan and

Security Agreement. Notably, Time Out does not dispute that it breached the

agreement by failing to timely repay the balances owed on the terms outlined

in the Loan and Security Agreement but instead argues only that the damages

are not capable of exact computation, in part because of alleged breaches on

Time Out’s part, including failing to convert homes from the Floor Plan Line

to the Rental Line, refunding curtailment payments made prior to the

conversion, and funding transfer costs. (See Defs.’ Resp. in Opp. to Pl.’s Mot.

for Partial Summ. J., at 8-11); (Def.’s Resp. to Pl.’s Statement of Material Facts

¶ 51). These terms do not appear in the either the Loan and Security

Agreement or the financing letters, which Time Out does not dispute. (See

Def.’s Resp. to Pl.’s Statement of Material Facts ¶¶ 22-25). To the extent Time

Out   relies   on   alleged   “representations”   from    the    Plaintiff,   these

representations are excluded from the Loan and Security Agreement by the

express terms of its merger clause. That clause provides that “[n]o provision of

this Agreement shall be varied or modified by any prior or subsequent

statement, conduct or act of any of the parties, except by a writing specifically

referring to this Agreement and signed by all parties hereto . . . This Agreement

and each applicable Schedule contain the entire agreement of the parties

hereto with respect to the subject matter hereof.” (Loan and Security

Agreement ¶ 9). Enforcement of these clauses is favored under Georgia law to


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preclude defendants from making the exact argument Time Out makes here—

that it was deceived into entering the agreement based on prior

representations by the Plaintiff. See First Data POS, Inc., 273 Ga. at 795.

Moreover, the Plaintiff has in fact accounted for money it has received as a

result of Toppos’s bankruptcy proceedings in its reply brief by providing

updated loan balances that factor in the liquidation of certain collateral that

has been credited towards Time Out’s balances. (Pl.’s Reply in Supp. of Mot.

for Partial Summ. J., at 12-13). Additionally, Time Out has provided no

contrary evidence refuting the Plaintiff’s computation of the damages. See

Anderson, 477 U.S. at 257 (noting that once the burden shifts to the

nonmovant, it must present affirmative evidence to show that a genuine issue

of material fact exists). Accordingly, the Court finds that the Plaintiff has met

its burden of demonstrating no genuine issue of material fact as to Count One

and its Motion for Partial Summary Judgment will be granted on that Count.

   B. Counts Four and Five – Breach of Contract Against Bender and the
      Remaining Defendants

Georgia law provides that a “contract of suretyship or guaranty is one whereby

a person obligates himself to pay the debt of another in consideration of a

benefit flowing to the surety or in consideration of credit or indulgence or other

benefit given to his principal, the principal in either instance remaining bound

therefor.” O.C.G.A. § 10-7-1. “Sureties, including those formerly called

guarantors, are jointly and severally liable with their principal unless the

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contract provides otherwise.” Id. Neither Bender nor the Remaining

Defendants have raised any defenses specific to the validity or binding nature

of the Guaranty Agreements, and these Defendants do not dispute that they

guaranteed Time Out’s obligations under the Loan and Security Agreement.

(Def.’s Resp. to Pl.’s Statement of Material Facts ¶¶ 46-48). And their

arguments as to any outside representations or issues with computing

damages fail for the reasons explained previously. The Guaranty Agreements

contain an almost identical merger clause to the one in the Loan and Security

Agreement: “No provision of this Guaranty shall be varied or modified by any

prior or subsequent statement, conduct or act of any of the parties, except by a

writing specifically referring to this Guaranty and signed by Guarantor and

Northpoint . . . This Guaranty contains the entire agreement with respect to

the subject matter hereof.” (Bender Guaranty Agreement, [Doc. 72-16], ¶ 7;

Remaining Defendants Guaranty Agreements, [Docs. 72-18, 72-20, ¶ 8].

Neither Bender nor the Remaining Defendants argue against enforcement of

the merger clause in the Guaranty Agreements and the Court finds no reason

not to enforce it. Therefore, the Court finds that the Plaintiff has met its

burden of demonstrating no genuine issue of material fact as to Counts Four

and Five and its Motion for Partial Summary Judgment will be granted on

these Counts as well.




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   C. Damages

      The Court finds that the Plaintiff has presented adequate evidence

demonstrating no genuine issue of material fact as to the amount of damages

owed and the computation thereof via the exhibits attached to its Motion and

the updated figures in its Reply Brief. See Bauer v. N. Fulton Med. Ctr., Inc.,

241 Ga. App. 568, 572 (1999) (noting that damages for breach of contract claims

must be “traced solely to [the] breach, be capable of exact computation, must

have arisen according to the usual course of things, and be such as the parties

contemplated as a probable result of such breach”). And again, the Defendants

have not challenged the Plaintiff’s damages calculation beyond raising

arguments that are barred by merger clauses in the parties’ various

agreements. Accordingly, the Court finds Defendants Time Out Communities,

LLC, Bender, and the Remaining Defendants to be jointly and severally liable

to the Plaintiff as to Counts One, Four, and Five in the amount of

$19,754,843.20, plus unpaid and accruing interest at the per diem rate of

$8,274.50 from May 15, 2024, through the date of entry of judgment, plus

attorney’s fees and expenses in an amount to be determined at trial. (See Pl.’s

Reply in Supp. of Mot. for Partial Summ. J., at 13-15).

   D. Request for Rule 54(b) Judgment

      The Plaintiff has requested the entry of a final judgment as to Counts

One, Four, and Five pursuant to Fed. R. Civ. P. 54(b). Where a party requests


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Rule 54(b) certification, the Court conducts a two-step analysis. First, the

Court must determine whether the decision is both a “judgment” and “final.”

Peden v. Stephens, 50 F.4th 972, 977 (11th Cir. 2022). The decision must be a

“judgment” in that “it is a decision upon a cognizable claim for relief” and “final

in the sense that it is an ultimate disposition of an individual claim entered in

the course of a multiple claims action.” Id. at 977 (quotation marks and

citations omitted). Second, the Court must determine whether there is “no just

reason for delay.” Id. (citation omitted). This second inquiry requires balancing

efficient judicial administration against the equities. Curtiss-Wright Corp. v.

Gen. Elec. Co., 446 U.S. 1, 8 (1980).

      A Rule 54(b) judgment is not proper here because even assuming the

Court’s ruling on the Plaintiff’s Motion for Partial Summary Judgment is a

judgment, it is not final and equitable concerns do not weigh in favor of

allowing any appeals in this action to proceed piecemeal. See Peden, 50 F.4th

at 978. Two of the three Counts at issue in the present Motion remain

unresolved as to several Defendants—Toppos, LLC and the five guarantor

Defendants who are currently in bankruptcy proceedings—and if those

proceedings do not result in discharge, the Plaintiff may resume litigating

those Counts against these Defendants. Presumably, the same arguments and

defenses that the Court addressed in the present Motion would apply, but the

result would be at least two separate appeals—a result which is disfavored by


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the Eleventh Circuit. Id. (“The federal concept of sound judicial administration

and efficiency will not normally be furthered by having piecemeal appeals that

require two (or more) three-judge panels to familiarize themselves with a given

case.” (quotation marks and citation omitted)). Moreover, some of the

Plaintiff’s remaining claims, including for a writ of possession, injunctive relief,

and appointment of a receiver, are somewhat intertwined with the Counts it

sought judgment on in the present Motion, counseling against a finding that

the present rulings are “an ultimate disposition of an individual claim.” Id. at

977. Nor is there any indication of “some particular danger of hardship or

injustice” to the Plaintiff if the Court were to delay entry of judgment until all

of the Plaintiff’s claims are resolved; indeed, the Plaintiff has not argued as

much. Id. at 978. Accordingly, the Plaintiff’s Motion for Partial Summary

Judgment will be denied as to its request for entry of a Rule 54(b) judgment.

                                 IV. Conclusion

      For the reasons set forth below, the Plaintiff’s Motion for Partial

Summary Judgment [Doc. 69] is GRANTED in part and DENIED in part. It is

GRANTED as to Count One as to Defendant Time Out Communities, LLC,

Count Four in its entirety, and Count Five as to all of the Defendants identified

in that Count with the exception of: Top Park Services, LLC, Prairie Knolls

MHP, LLC, Time Out Properties, LLC, Grand Valley MHP, LLC, and Rolling

Acres MHC, LLC. The Motion [Doc. 69] is considered WITHDRAWN as to these


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five LLC Defendants. Defendants Time Out Communities, LLC, Bender, and

the Remaining Defendants 5 are jointly and severally liable to the Plaintiff as

to Counts One, Four, and Five respectively in the amount of $19,754,843.20,

plus unpaid and accruing interest at the per diem rate of $8,274.50 from May

15, 2024, through the date of entry of judgment, plus attorney’s fees and

expenses in an amount to be determined at trial. The Motion [Doc. 69] is

DENIED with respect to the Plaintiff’s request for a Rule 54(b) judgment. The

Parties that are not in bankruptcy are DIRECTED to file a consolidated

pretrial order with respect to the remaining claims within 30 days of the date

of this Order.

      SO ORDERED, this 30th day of December, 2024.


                                              _________________________ ___
                                              THOMAS W. THRASH, JR.
                                              United States District Judge




      5 Abbot Park MHC, LLC, Alamac Village MHP LLC, Cadillac Ranch

MHC LLC, Brittany Court MHP LLC, Bullock MHP LLC, Cedarbrook Estates
MHP LLC, Central Park 2 MHP LLC, Central Park 3 MHP LLC, City View
MHC LLC, Eaglewood MHP LLC, Littlefield Village MHP LLC, Maple Creek
MHP LLC, Countryside MHC LLC, Eastview MHC LLC, Pine Run Park MHP
LLC, Scottsdale MHP LLC, Taylor Park MHC LLC, Waynesville Plantation
MHP LLC, West Estates MHC LLC, Wysteria Village MHC LLC, Patch Place
MHC LLC, Dogwood MHC LLC, Laiken Estates MHC, LLC, Schoolview MHC,
LLC, Turner Park MHC, LLC, Victoria Estate MHC, LLC, Ridgefield MHC
LLC, Pleasant Hope MHC LLC, Time Out MHP, LLC, Cape Fear MHC LLC,
Green Pines MHC LLC, Pine Log MHC LLC, Pinewood MHC LLC, Taylors
Bridge MHC LLC, and White Sands MHC LLC.
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